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AO 106 (Rev. 04/10) Application for a Search Warrant

 

UNITED STATES DISTRICT COURT

for the 22h JAN LG PH 2:41
Southern District of Ohio

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Case No, TE21Mu-03]

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

250 South Nelson Ave., Lot 72
Wilmington, Ohio

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APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A

located in the Southern District of Ohio , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B

 

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
® evidence of a crime;
© contraband, fruits of crime, or other items illegally possessed;
© property designed for use, intended for use, or used in committing a crime;
© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. 875(c) Interstate Threats
18 U.S.C. 1512(b)(3) Tampering with a Witness by Threat

The application is based on these facts:

See Attached Affidavit

Continued on the attached sheet.
O Delayed notice of days (give exact ending date if more than 30 days: ) is requested

under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
UU LY

Applicant's signature
Caleb Yokley, Special Agent, FBI

 

Printed name and title

Sworn to before me and signed in my presence.

pate: '/J44/9(

City and state: Cincinnati, Ohio Hon. Stephanie K. Bowman, U.S. Magistrate Judge
Printed name and title

  

Judge ’s signature

 

 

 
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ATTACHMENT A

Description of Premises to be Searched

The Premises to be searched is 250 South Nelson Ave., Lot 72, Wilmington, Ohio, further
described as a prefabricated mobile home, predominantly white in color, with the number “72”
clearly displayed on the front of the structure.

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ATTACHMENT B

Particular Things to be Seized

All evidence and information relating to violations of Title 18, United States Code,
Sections 875(c) (Interstate Threats) and 1512(b)(3) (Tampering with a Witness by Threat)

involving Justin Stoll, including without limitation:

1. Cellular or satellite phones;
2. Any computer or digital medium that is capable of storing photos or video;

3. Weapons that may be used in connection with the threats, including firearms and
ammunition;

4. All records or evidence relating to any social media accounts, passwords, or monikers
used by Justin Stoll.

5. All records or evidence pertaining to Justin Stoll’s whereabouts and activities from
January 1, 2021, to the present.

6. All records or evidence relating to Justin Stoll’s travel to and activities in Washington,
D.C. on or about January 6, 2021.

With respect to any phones seized during the execution of the search of the Premises
described in Attachment A (“PHONE”), law enforcement personnel are authorized to press the
fingers (including thumbs) of Justin Stoll to the Touch ID sensor of the PHONE, such as an
iPhone or Google Pixel, found at the Premises for the purpose of attempting to unlock the device
in order to search the contents as authorized by this warrant.

For any computer or storage media (“COMPUTER”), including smart phones and satellite
phones, seized pursuant to this warrant, law enforcement may search for:
1. evidence of who used, owned, or controlled the COMPUTER at the time the

things described in this warrant were created, edited, or deleted, such as logs,
registry entries, configuration files, saved usernames and passwords, documents,
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browsing history, user profiles, email, email contacts, “chat,” instant messaging
logs, photographs, and correspondence;

2. evidence indicating how, where, and when the COMPUTER was accessed or used
to determine the chronological and geographical context of access, use, and
events relating to crime under investigation and to the COMPUTER user;

3. evidence indicating the COMPUTER user’s state of mind as it relates to the crime
under investigation;

4. evidence of the attachment to the COMPUTER of other storage devices or similar
containers for electronic evidence;

5. evidence of the times the COMPUTER was used;

6. All records or evidence relating to any social media accounts, passwords, or
monikers used by Justin Stoll.

7. All records or evidence pertaining to Justin Stoll’s whereabouts and activities
from January 1, 2021 to the present.

8. All records or evidence relating to Justin Stoll’s travel to and activities in
Washington, D.C. on or about January 6, 2021.

This warrant authorizes a review of the electronic devices seized or copied pursuant to this
warrant in order to locate evidence, fruits, and instrumentalities described in this warrant. The
review of this electronic data may be conducted by any government personnel assisting in the
investigation, who may include, in addition to law enforcement officers and agents, attorneys for
the government, attorney support staff, and technical experts. Pursuant to this warrant, the FBI
may deliver a complete copy of the seized or copied electronic data to the custody and control of

attorneys for the government and their support staff for their independent review.
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FOR SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

IN THE UNITED STATES DISTRICT COURT én21 JAN TG PR 2:4

La Be ef
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IN THE MATTER OF THE SEARCH OF :
caseno.__1BI2 TMJ -031

250 South Nelson Ave., Lot 72
Wilmington, Ohio Filed Under Seal

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Caleb Yokley, a Special Agent with the Federal Bureau of Investigation, being first
duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

iF I make this affidavit in support of an application for a search warrant under
Federal Rule of Criminal Procedure 41 for the premises at 250 South Nelson Ave., Lot 72,
Wilmington, Ohio (the “PREMISES”).

2. The places to be searched are described herein and in Attachment A, and the
items to be seized are described herein and in Attachment B.

3. I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have
been since 2019. I am assigned to the Cincinnati Division’s Joint Terrorism Task Force. In this
capacity, | am responsible for investigating violations of Title 18 of the United States Code and
other violations of federal law. I have conducted and participated in investigations that involved
the use of advanced investigative techniques such as: execution of search warrants on computers,
emails, other electronic devices and physical structures; physical and electronic surveillance, and
vehicles. During my investigations, I have participated in witness interviews, subject interviews,
and analysis of evidentiary items. I have received specialized training in interviewing and

interrogation techniques, search and seizure, and other investigative techniques.
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4, Prior to joining the FBI, | was an Assistant District Attorney (ADA) for the Knox
County District Attorney’s Office. As an ADA, I was primarily responsible for prosecuting
criminal cases involving domestic violence, firearms offenses, and other misdemeanor and
felony violations.

5. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

6. Based on the facts set forth in this affidavit, there is probable cause to believe that
JUSTIN STOLL has committed violations of Title 18, United States Code, Sections 875(c)
(Interstate Threats) and 1512(b)(3) (Tampering with a Witness by Threat) within the Southern
District of Ohio, and that evidence of such crimes will be found at the PREMISES.

APPLICABLE LAW

a Under 18 U.S.C, § 875(c), it is unlawful to knowingly transmit in interstate
commerce a communication containing a threat to kidnap or injure a person, where the defendant
transmitted the communication for the purpose of making a threat or knowing that the
communication would be viewed as a threat.

8. Under 18 U.S.C. § 1512(b)(3), it is unlawful to knowingly intimidate or threaten,
or attempt to intimidate or threaten, another person with the intent to hinder, delay, or prevent the
communication to a law enforcement officer or judge of the United States of information relating

to the commission or possible commission of a federal offense.
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PROBABLE CAUSE

2. The Federal Bureau of Investigation and the United States Attorney’s Office for
the Southern District of Ohio are investigating a riot that occurred at the U.S. Capitol building on
January 6, 2021, and whether individuals from this District may have traveled to Washington,
D.C., with the intent to commit federal crimes.

10. _ In connection with that investigation, FBI learned of a threat to injure a person
that was transmitted in interstate commerce. For the reasons given below, there is probable cause
to believe that JUSTIN STOLL, a resident of the Southern District of Ohio, transmitted the
threat, and that in doing so he violated 18 U.S.C. § 875(c) (interstate communication of threat)
and 18 U.S.C. § 1512(b)(3) (tampering with a witness by threat).

11. The Events of January 6, 2021, at the United States Capitol. On January 6,
2021, a joint session of the United States Congress convened at the United States Capitol. During
the joint session, elected members of the United States House of Representatives and the United
States Senate met in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020.

12. With the joint session underway and with Vice President Mike Pence presiding, a
large crowd gathered outside the United States Capitol. Temporary and permanent barricades
were in place around the exterior of the U.S. Capitol building. U.S. Capitol Police were present
and attempted to keep the crowd away from the Capitol building and the proceedings underway
inside.

13. At approximately 2:00 pm, some protesters broke through police barricades and

forced their way to the exterior facade of the Capitol. At the time, the joint session was still

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underway, and the exterior doors and windows of the Capitol were locked or otherwise secured.
Members of the U.S. Capitol Police attempted to maintain order and keep the crowd from
entering the Capitol; however, shortly after 2:00 pm, individuals in the crowd forced entry into
the U.S. Capitol, including by breaking windows.

14. Shortly thereafter, at approximately 2:20 pm, members of the U.S. House of
Representatives and U.S. Senate, including the President of the Senate, Vice President Mike
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of
the U.S. Congress was effectively suspended until shortly after 8:00 pm.

15. Identification of “Th3RealHuckleberry” as JUSTIN STOLL. On January 8,
2021, the FBI National Threat Operations Center received an online tip about threatening posts
made by users of the smartphone application “Clapper.” The tip asserted that Clapper had been
used by right-wing content creators to plan the attack on the Capitol Building on January 6,
2021. The tip added that members of Clapper had used the words “coup” and “insurrection” to
describe their planned actions.

16. The tip further asserted that Clapper user “Th3RealHuckleberry” had posted a
video in which he had made concerning statements about politicians.

17. The FBI is currently reviewing Th3RealHuckleberry’s videos. I have not yet
found the specific video mentioned by the tipster in which the speaker allegedly made
concerning statements about politicians.

18. Based on my training and experience and the information described below, |
believe that the user of Clapper username “Th3RealHuckleberry” is JUSTIN STOLL, a resident

of the Southern District of Ohio.
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19, An open-source query for Clapper username “Th3RealHuckleberry” resolved to
Clapper account @Th3RealHuckleberry. @Th3RealHuckleberry’s profile page showed several
photos of the same person: a white male who appears to be in his late 30s or early 40s. Based on
my training and experience and the context of these images, I believe that these photos show the
individual who operates the account.

20. A Facebook query for “Th3RealHuckleberry” revealed a Facebook profile page
for a person identified as a “Talent/Brand Manager at Th3 Real Huckleberry.” Review of the
Facebook page led to the discovery of the Facebook page for an individual I will call T.S. That
Facebook profile shows a woman standing with a man who appears to be the same individual
shown on the profile picture for Clapper user Th3RealHuckleberry.

21. | An open-source query on T.S. led to the discovery of a listed relative named
JUSTIN STOLL. A driver’s license query for JUSTIN STOLL revealed an active Driver License
with a DMV photo. The photo was a positive match to the user portrayed in
Th3RealHuckleberry’s photos and videos.

22. Law enforcement databases list the PREMISES as STOLL’s address. FBI agents
have conducted surveillance of the PREMISES in recent days and confirmed that STOLL resides
there.

23. Videos showing that STOLL was present with protestors outside the United
States Capitol on January 6, 2021. On January 12, 2021, FBI Cincinnati learned of a video
that had recently been posted to Th3RealHuckleberry’s Clapper account. The video shows
STOLL asking his viewers if he should wear a black United States flag during his trip to
Washington, DC. Based on my training and experience and my review of the YouTube videos

described below, I believe that STOLL was referring to the January 6, 2021 trip to the U.S.

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Capitol Building. STOLL then explains what the black flag means: “[N]o enemy combatants will
receive aid. You will get no quarters from me. Basically, if you are an enemy combatant, you
will be shot on sight....I know this is the end-all flag. This is the it’s-too-late-to-give-a-shit flag.”

24. FBI agents also reviewed videos on the YouTube channel for user “Th3Real
Huckleberry.” The videos show a white male in a crowd of individuals gathered outside the
Capito! Building in Washington, DC. Based on my review of STOLL’s driver’s license, and the
fact that the YouTube account username is the same as STOLL’s Clapper username, I believe
that the individual pictured in the videos is STOLL.

25. The videos show STOLL outside the United States Capitol with other protestors.
In one video, STOLL pans the camera around to show his face. Other YouTube videos on
Th3RealHuckleberry’s channel show various angles of STOLL’s face throughout the day as he
participates in the activities at the Capitol.

26. In one of the videos, STOLL can be heard saying, among other things, “D.C. is a
motherfucking war zone! D.C.’s a war zone! D.C.’s a war zone! .. . You ain’t got enough cops,
baby! We are at war at the Capitol. .. . We have taken the Capitol. This is our country.”

27. | STOLL’s Threats Towards a Concerned Citizen. In response to Th3Real
Huckleberry’s YouTube videos showing his activity at the Capitol, STOLL received online
responses from other online users who claimed he should be arrested for his activity.

28. On or about January 7, 2021, an online user posted the following comment on one
of STOLL’s videos:

Cool I’m glad I saved this video lol | hope you really went in the
capitol bldg. You'll have 10 years of free room and board waiting for
you.
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29. Shortly thereafter, STOLL posted a video response to the online user in which he

showed a screenshot of the online user’s comment and then said:

Snitch bitch first thing in the morning. Let’s see what the rat fuck has
to say, shall we? Cool, I’m glad I saved this video, lol. I hope you
really went into the capitol building. You’ll have 10 years of free
room and board waiting for you. Well, that shows your fucking
ignorance because clearly, the capitol building is owned by the
people, so again, nothing will happen. Secondly, I never admitted I
went into it, did 1? Go watch the video again. Daddy’s not stupid.
[Wink.] Third, if-you ever in your fucking existence did something to
jeopardize taking me away from my family, you will absolutely meet
your maker. You can play that for the D.A. in court, I don’t care. If
you ever jeopardize me, from being with my family, you will
absolutely meet your mother fucking maker, and I will be the one to

arrange the meeting. So go ahead and play that shit, bitch. Keep this
video, You might need it one day.

30. | STOLL’s demeanor in the video is serious and aggressive. Below is a screenshot

from the video:
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Pippy 1 eee GL be eet

Cool lm glad | saved this video

lol | hope you really went in
the capitol bidg, Youll have 10
years of free room and board
waiting for you

 

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Reply to loo rstyree
COTM Cee em dsl aT

Hnnhsatocnocch Bmearrurhric Mn

 

31. Based on the foregoing, there is probable cause to believe that JUSTIN STOLL, a
resident of the Southern District of Ohio, has violated 18 U.S.C. § 875(c) (interstate
communication of a threat) and 18 U.S.C. § 1512(b)(3) (tampering with a witness by threat).

TOUCH ID AUTHORIZATION

32. In my training and experience, it is likely that the PREMISES will contain at least

one electronic device that contains evidence of, or was used to commit, the offenses under

investigation.
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33. | know from my training and experience, as well as from information found in
publicly available materials, including those published by Apple and Google, that some
smartphone models, such as iPhones and Google Pixels, offer their users the ability to unlock the
device via the use of a fingerprint or thumbprint (collectively, “fingerprint”) in lieu of a numeric
or alphanumeric passcode or password. This feature is called Touch ID,

34, Ifa user enables Touch ID on a given device, he or she can register several
fingerprints that can be used to unlock that device. The user can then use any of the registered
fingerprints to unlock the device by pressing the relevant finger(s) to the device’s Touch ID
sensor. In my training and experience, users of devices that offer Touch ID often enable it
because it is considered to be a more convenient way to unlock the device than by entering a
numeric or alphanumeric passcode or password, as well as a more secure way to protect the
device’s contents. This is particularly true when the user(s) of the device are engaged in criminal
activities and thus have a heightened concern about securing the contents of the device.

35. In some circumstances, a fingerprint cannot be used to unlock a device that has
Touch ID enabled, and a passcode or password must be used instead. For example, with Apple
devices, these circumstances include: (1) when more than 48 hours has passed since the last time
the device was unlocked and (2) when the device has not been unlocked via Touch ID in 8 hours
and the passcode or password has not been entered in the last 6 days. Thus, in the event law
enforcement encounters a locked device, the opportunity to unlock the device via Touch ID
exists only for a short time. Touch ID also will not work to unlock the device if (1) the device
has been turned off or restarted; (2) the device has received a remote lock command; and (3) five

unsuccessful attempts to unlock the device via Touch ID are made.
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36. The passcode or password that would unlock the device(s) found during the
search of the Premises is not known to law enforcement. Thus, it will likely be necessary to
press the finger(s) of the user(s) of the device(s) found during the search of the Premises to the
device’s Touch ID sensor in an attempt to unlock the device for the purpose of executing the
search authorized by this warrant. Attempting to unlock the relevant device(s) via Touch ID
with the use of the fingerprints of the user(s) is necessary because the government may not
otherwise be able to access the data contained on those devices for the purpose of executing the
search authorized by this warrant.

37. In my training and experience, the person who is in possession of a device or has
the device among his or her belongings at the time the device is found is likely a user of the
device. However, in my training and experience, that person may not be the only user of the
device whose fingerprints are among those that will unlock the device via Touch ID, and it is
also possible that the person in whose possession the device is found is not actually a user of that
device at all. Furthermore, in my training and experience, I know that in some cases it may not
be possible to know with certainty who is the user of a given device, such as if the device is
found in a common area of a premises without any identifying information on the exterior of the
device. Thus, it will likely be necessary for law enforcement to have the ability to require any
occupant of the Subject Premises to press their finger(s) against the Touch ID sensor of the
locked device(s) found during the search of the Subject Premises in order to attempt to identify
the device’s user(s) and unlock the device(s) via Touch ID.

38. Although I do not know which of a given user’s 10 fingerprints is capable of
unlocking a particular device, based on my training and experience I know that it is common for

a user to unlock a Touch ID-enabled device via the fingerprints on thumbs or index fingers. In

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the event that law enforcement is unable to unlock the device(s) found in the Subject Premises as
described above within the five attempts permitted by Touch ID, this will simply result in the
device requiring the entry of a password or passcode before it can be unlocked.

39. Due to the foregoing, | request that the Court authorize law enforcement to press
the fingers (including thumbs) of individuals found at the Subject Premises to the Touch ID
sensor of any device(s), such as an iPhone or Google Pixel, found at the Subject Premises for the
purpose of attempting to unlock the device via Touch ID in order to search the contents as
authorized by this warrant.

AUTHORIZATION REQUEST

40. Based on the foregoing, I request that the Court issue the proposed search
warrant, pursuant to Federal Rule of Criminal Procedure 41, to search the PREMISES in
Attachment A for the items described in Attachment B.

Respectfully submitted,

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CALEB YOKLEY, Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me on January / oe , 2021
GMA. A (oun Cr

ONORABLE STEPHANIE K. BOWMAN
UNITED STATES MAGISTRATE JUDGE

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ATTACHMENT A

Description of Premises to be Searched

The Premises to be searched is 250 South Nelson Ave., Lot 72, Wilmington, Ohio, further
described as a prefabricated mobile home, predominantly white in color, with the number “72”
clearly displayed on the front of the structure.

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ATTACHMENT B

Particular Things to be Seized

All evidence and information relating to violations of Title 18, United States Code,
Sections 875(c) (Interstate Threats) and 1512(b)(3) (Tampering with a Witness by Threat)

involving Justin Stoll, including without limitation:

1. Cellular or satellite phones;
2. Any computer or digital medium that is capable of storing photos or video;

3. Weapons that may be used in connection with the threats, including firearms and
ammunition;

4. All records or evidence relating to any social media accounts, passwords, or monikers
used by Justin Stoll.

5. All records or evidence pertaining to Justin Stoll’s whereabouts and activities from
January 1, 2021, to the present.

6. All records or evidence relating to Justin Stoll’s travel to and activities in Washington,
D.C. on or about January 6, 2021.

With respect to any phones seized during the execution of the search of the Premises
described in Attachment A (“PHONE”), law enforcement personnel are authorized to press the
fingers (including thumbs) of Justin Stoll to the Touch ID sensor of the PHONE, such as an
iPhone or Google Pixel, found at the Premises for the purpose of attempting to unlock the device
in order to search the contents as authorized by this warrant.

For any computer or storage media (“COMPUTER”), including smart phones and satellite
phones, seized pursuant to this warrant, law enforcement may search for:
1. evidence of who used, owned, or controlled the COMPUTER at the time the

things described in this warrant were created, edited, or deleted, such as logs,
registry entries, configuration files, saved usernames and passwords, documents,
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browsing history, user profiles, email, email contacts, “chat,” instant messaging
logs, photographs, and correspondence;

2. evidence indicating how, where, and when the COMPUTER was accessed or used
to determine the chronological and geographical context of access, use, and
events relating to crime under investigation and to the COMPUTER user;

3. evidence indicating the COMPUTER user’s state of mind as it relates to the crime
under investigation;

4. evidence of the attachment to the COMPUTER of other storage devices or similar
containers for electronic evidence;

5. evidence of the times the COMPUTER was used;

6. All records or evidence relating to any social media accounts, passwords, or
monikers used by Justin Stoll.

7. All records or evidence pertaining to Justin Stoll’s whereabouts and activities
from January 1, 2021 to the present.

8. All records or evidence relating to Justin Stoll’s travel to and activities in
Washington, D.C. on or about January 6, 2021.

This warrant authorizes a review of the electronic devices seized or copied pursuant to this
warrant in order to locate evidence, fruits, and instrumentalities described in this warrant. The
review of this electronic data may be conducted by any government personnel assisting in the
investigation, who may include, in addition to law enforcement officers and agents, attorneys for
the government, attorney support staff, and technical experts. Pursuant to this warrant, the FBI
may deliver a complete copy of the seized or copied electronic data to the custody and control of

attorneys for the government and their support staff for their independent review.
